UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND,
BALTIMORE DIVISION
B.N. S. minor child by her parents and next friends
Christine and Brian Stuart
Plaintiff,
v                                                 CASE NO. 17-CV-2670


Victor Brito,                                     AMENDED COMPLAINT 42 U.S.C.
in his official capacity as police chief of the       SEC 1983, 4TH, 8TH & 14TH
Hagerstown Police Department                          MD ART.24 JURY TRIAL
50 N Burhans Blvd.                                    DEMANDED
Hagerstown, MD 21740
Hagerstown City Police Department, a Maryland Municipal corporation
P.O. Eichelberger (P4918), Sgt. Constable (P3910),
Officer Rowe (P5190) and
Officers Unknown, in both their personal capacities and their official
capacities as officer of the Hagerstown Police Department
50 N Burhans Blvd.
Hagerstown, MD 21740


Bob Bruchey, in his official capacity as Mayor of the
City of Hagerstown
One E. Franklin St.
Rm 202
Hagerstown, MD 21740

City of Hagerstown, a Maryland Municipal Corporation

Kristin B. Aleshire, Paul Corderman, Emily Keller, Lewis Metzner
and Donald F. Munson in their official capacity as
Council Members for the City Council of Hagerstown
One E. Franklin St.
Rm 202
Hagerstown, MD 21740


Defendants
                                           COMPLAINT




                                              1
Now comes the PLAINTIFF B.N.S., a then 15 year old minor, by her parents and next
friends Christine and Brian Stuart ("Plaintiff"), who requests a preventive injunction
against the Defendants to halt any further deprivations of Liberty or Due Process
against the Plaintiff, and who sues the Defendants for money damages and who
states:



                               SUMMARY OF THE ACTION

1.        On September 18, 2016 Hagerstown Police Department arrived at the scene
of an accident where Hagerstown high school student B.N.S., while riding her
bicycle in the afternoon, in broad daylight, and entering an intersection, was struck
by a motorist. After being questioned by Emergency Medical Technicians
(hereafter EMT) personnel who had been called to the scene and by police to
determine her condition, she refused to be transported to the hospital, asked to call
her parents and a family friend who was also a police officer.

2.        Police refused to permit her to contact these adults and instead suddenly and
without probable cause or any reasonable suspicion of wrongdoing, grabbed her
backpack from behind and violently yanked her off her bicycle.

3.        She became upset and began to cry while continuing to ask to call her police
friend and parents. Police refused and forcibly began to manhandle her to place
handcuffs on her. As her alarm grew, Hagerstown city police officers Eichelberger,
Rowe, Constable and others unknown became more and more physically abusive.
The girl pleaded with the police officers, who were all white, to call a black officer
who knows her family named “Zack.”

4.        At one point, officers each had a hold of her wrist and slung her face first into
the side of a brick building. Her chin smashed into a window-sill. This violent action
rendered the 105 pound five foot one child even more hysterical and fearful for her
safety.



                                              2
5.       They then handcuffed her hands behind her back and thrust her into the
backseat of the police cruiser and then shut the door and unloaded a can of pepper
spray into the back seat of the cruiser as she lay there crying, begging and
screaming for her parents. In the video, the girl can be heard screaming and crying
out that she can’t breathe. The girl’s father picked her up from the police station and
drove her to Meritus Medical Center, where, three hours after she was sprayed,
medical staff washed the burning chemicals from her eyes and face. The police
contacted the hospital and ordered them not to take any photos of the girl’s chemical
burns.

6.       This has cost B.N.S. and her family substantial money in both legal and
medical costs. This was a deprivation of B.N.S.'s 4th Amendment of the United States
Constitution right to be free of unlawful searches and seizure of B.N.S.'s person.
There also exists a violation of B.N.S.’s rights under the Fourteenth Amendment of
the United States Constitution as the police effected a warrantless arrest of a minor
child without probable cause in response to a possible medical emergency. It was a
violation of the 24th Article of the Declaration of Rights of the Constitution of the State
of Maryland. And it was a violation of B.N.S.'s right of freedom without fear of official
reprisal and oppression. It was a false arrest, an abuse of authority with excessive
and unnecessary force and an intentional infliction of emotional distress. These
violations have caused B.N.S. pain and suffering and monetary losses.

                               PRE-SUIT REQUIREMENTS

7.   B.N.S. has satisfied the prerequisites to suit specified by the Maryland Tort
Claims Act, Md. Code Ann., State Gov't (SG) § 12 ,106, and the Local Government
Tort Claims Act, Md. Code Ann., Cts. & Jud. Proc. (CJ) § 5-304, for each claim in this
complaint to which these laws apply.

8.       B.N.S. sent notice of her claims to Victor Brito, Chief of Police for the City of
Hagerstown, Bob Bruchey, Mayor for the City of Hagerstown, Hagerstown City
Council members and the Maryland State Treasurer by certified mail, return receipt
requested, on November 3, 2016.

                                              3
                              JURISDICTION & VENUE

10.    This is an action at law under 42 U.S.C. § 1983 and the laws of the State of
Maryland to redress the deprivation under color of state law of rights, privileges and
immunities secured to the Plaintiff by the Constitutions of the United States and the
State of Maryland.

11..   The venue is proper pursuant to 28 U.S.C. § 1391(b), as all of the parties live,
or operate, within this district.

12.    All acts necessary or precedent to the bringing of this lawsuit occurred or
accrued in Washington County, Maryland. The time provided for in the statute of
limitations for filing personal damages has not expired. The aforementioned acts
have had significant effects in Maryland.

13.    Plaintiff brings this action pursuant to 42 U.S.C. § 1983 and the Fourth, and
Fourteenth Amendments to the United States Constitution and this jurisdiction is
founded upon 28 U.S.C. § 1331 and § 1343(a) (3) and (4).

14.    Plaintiff further invokes supplemental jurisdiction of this Court pursuant to 28
U.S.C. §1367(a) to hear and decide claims arising under State law.

15.    Any State causes of action arising out of the deprivation of the Federal civil
rights alleged herein are properly before this Court pursuant to the pendant
jurisdiction of this Court.

                              INTRADISTRICT ASSIGNMENT

16.    The entirety of the events complained of herein occurred in Washington
County, Maryland, and this action is properly assigned to the Baltimore Division of
the United States District Court for the District of Maryland.

                                       PARTIES




                                            4
17.    Plaintiff B.N.S., a 15 year old minor, by her parents and next friends
Christine and Brian Stuart , is and was at all times relevant herein a resident of
Maryland. She is a person within the meaning of the Constitutions of the United
States and the state of Maryland. As explained below, she’s been injured and risks
further harm as a result of the Defendants illegal acts and omissions.

18. Defendant Hagerstown City Police Department a Municipal corporation, is a
government agency. The Hagerstown City Council, also a government agency, and
its members, Kristin Aleshire, Paul Corderman, Emily Keller, Lewis Metzner, and
Donald Munson, hold hearings on police department policy and set the police
department budget. They are “persons” within as that term is defined in 42USC
1983. Defendant, Hagerstown City Police Department maintains a police force which
operates and administers a set of law enforcement policies, practices and customs
involving the hiring, training and supervision of its police officers. The policies,
practices and customs include training and supervision in determining probable
cause for arrests. As the employer of the officers involved in the subject incident, the
Hagerstown City Police Department is liable for state constitutional violations under
the doctrine of respondeat superior.

19.    Victor Brito is the Chief of the Hagerstown Police Department. He is the chief
law enforcement officer of the Hagerstown City Police Department and he is
appointed by the Mayor of Hagerstown with the advice and consent of the city
council. As police chief, Mr. Brito exercises final policy making authority for the
Police Department, establishes the duties conduct and discipline of officers and
other employees and establishing policies regarding screening, hiring, training
monitoring and supervision of subordinates. He is a person within the meaning of 42
USC 1983, acting at all relevant times under color of state law. Police chief Brito is
sued in his official capacity.

20. Defendant officers, Eichelberger, Constable, Rowe and Officers Unknown, are
police officers employed with the Hagerstown City Police Department, they are
persons as that term is defined in 42 USC 1983 and at all relevant times were acting


                                            5
within the scope of employment and under color of Maryland state law and are
being sued in both personal and official capacities.

21.    Defendant, City of Hagerstown, a municipal corporation, maintains law
enforcement officers, which operates and administers a set of law enforcement
policies, practices and customs involving the hiring, training and supervision of its
police officers. The policies, practices and customs include training and supervision
in determining probable cause for arrests. As the employer of the officers involved
in the subject incident, Hagerstown city is liable for state constitutional violations
under the doctrine of respondeat superior. Defendant City of Hagerstown is a person
within the meaning of 42 USC 1983, acting at all relevant times under color of state
law.

22. Defendant Mayor Bob Bruchey, is the chief executive officer of the City of
Hagerstown and is responsible for the execution of city policies, laws and
resolutions. He executes the City Council’s policies, laws and resolutions. Mayor
Bruchey is a person within the meaning of 42 USC 1983, acting at all times under
color of state law.

                        GENERAL FACTUAL ALLEGATIONS

23.    On September 18, 2016, Hagerstown Police Department officers
Eichelberger, Rowe, Constable and others unknown, arrived at the scene of an
accident where Hagerstown high school student B.N.S. Stuart, while riding her
bicycle in the afternoon, in broad daylight, and entering an intersection, was struck
by a motorist and knocked unconscious for a few minutes.

24.    The police report noted that the motorist, Wilson Shearer was not injured and
there were no damages to his car. The police report is absent of any information
about an investigation into who was at fault for the collision.

25.    B.N.S. was lucid and conversational when EMT personnel arrived and began
to question her about her condition. She declined to be transported to the hospital
and asked to call her parents and a family friend who was also a police officer. Those


                                            6
EMT persons unknown, then left, while police, who had arrived after the EMT,
remained at the scene. The video shows the police began to question B.N.S. about
where she was going, where she lived, what she'd been doing before she was struck
by the car.

26.    As the police questioning intensified, the police became more physically and
verbally aggressive and confrontational while she continued to ask to go home and
to call her police friend.

27.    The video shows police refused to permit her to contact her parents or family
police friend and instead suddenly and without probable cause or any reasonable
suspicion of wrongdoing, grabbed her backpack and violently yanked her off her
bicycle.

28.    The video shows that once they grabbed her off her bike they never
physically let go of her continuing their physical violence and eventually forcing her
hands behind her back to cuff her. She was screaming from the pain she felt when
they twisted her arms up and behind her back.

29.    The video shows at one point, two of the officers each had a hold of her wrist
and flung her face first into the side of a brick building. Her chin smashed into a
window-sill. This violent action rendered the 105 pound five foot one child even
more hysterical and fearful for her safety.

30.    The video shows after the officers handcuffed her hands behind her back they
forcibly lifted her entire body and thrust her into the backseat of the police cruiser.
As she sat there the officers then pepper sprayed her repeatedly while she cried
that she couldn’t breathe and begged for her parents. The video shows they pepper
sprayed her four times through the car door, through the open car door window and
from within the police car. The video shows one of the officers climbed into the
front seat. He then leaned over the seat directly aiming the pepper spray into her
open mouth as she screamed and cried.




                                              7
31.      During the 15 minutes ride to the police station she couldn't wipe her eyes or
mouth. At the police station they yanked her out of the car and slammed her against
a car.

32.      While she cried for her parents the officers kept threatening her that if she
didn't cooperate with their interrogation, they will take her to Baltimore jail which
she knew was 60 miles away.

33.      Approximately 30 minutes after she arrived at the Hagerstown jail, her father
Brian arrived but was not allowed to see his daughter for another 30 minutes.

34.      She was ultimately released to her father whereupon he took her directly to
the Meritus Medical Center hospital. Only then were medical personnel able to
irrigate her eyes and relieve her pain from the pepper spray. The medical report
notes a diagnosis of multiple contusions, closed head injuries, possible concussion,
and whiplash. It also notes she had suffered burning pain in the face, right shoulder
and hip pain, neck pain and bilateral eye pain and right lower back pain, abdominal
pain and one episode of vomiting. The hospital forensic nurse failed to document
B.N.S.'s injuries with photographs because, as stated in the medical report, the
Hagerstown police department refused to provide her with a "case number".

35.      The hospital report notes B.N.S. explained that she was struck by the car when
she entered the intersection.

     COUNT I: CLAIM OF B.N.S. AGAINST DEFENDANTS MAYOR, CITY
    COUNCIL, CHIEF BRITO, DEFENDANT HAGERSTOWN CITY POLICE
    DEPARTMENT, A MARYLAND MUNICIPAL CORPORATION, CITY OF
       HAGERSTOWN , A MARYLAND MUNICIPAL CORPORATION,
   EICHELBERGER, CONSTABLE, ROWE AND OFFICERS UNKNOWN FOR
  VIOLATION OF THE PLAINTIFF'S CIVIL RIGHTS PURSUANT TO 42 U.S.C.
                      1983 ( EXCESSIVE FORCE)
36.      Plaintiff re-alleges and restates paragraphs 1 through 35 as if fully set forth
herein.

37.      One of the officers is heard on video stating that they were "taking her in"
because she might have brain damage. Defendants cannot defend their actions on


                                              8
the grounds that they had reasonable suspicion or probable cause to arrest her for
having possible brain damage. They claim that they sought to detain her to further
investigate her health and wellbeing. She had already declined to be transported
by EMT personnel after having spoken with them and therefore EMT left without
advising the officers to detain her. Surely it can’t be police officer concussion
protocol to slam a petite teenager face first against the wall, pepper spray her
repeatedly and manhandle her. Even NFL players get a time-out if there is a
suspicion of a concussion. The police officers named and unnamed used
unreasonable and excessive force when they slammed her like she was in the world
wrestling federation.

38.    Force is excessive and therefore violates the Fourth Amendment if it is not
reasonable in light of the circumstances facing the officer. See Graham v Connor ,
490 U.S. 386, 397 (1989) (“the ‘reasonableness’ inquiry in an excessive force case is
an objective one: the question is whether the officers' actions are “objectively
reasonable in light of the facts and circumstances confronting them.”)

39.    In Tennessee v. Garner, the Supreme Court held that "apprehension by the
use of deadly force is a seizure subject to the reasonableness requirement of the
Fourth Amendment." 471 U.S. 1, 7, 105 S.Ct. 1694, 1699, 85 L.Ed.2d 1 (1985). Where a
victim of a seizure alleges that officers unreasonably employed excessive force
under the circumstances in order to detain or subdue her, the "reasonableness of
force should be analyzed in light of such factors as the requirements for the officer’s
safety, the motivation for the arrest [or detention], and the extent of the injury
inflicted." McKenzie v. Lamb, 738 F.2d 1005, 1011 (9th Cir.1984). Hence, an
allegation that force used during a personal seizure was excessive as measured by
these factors states a claim for relief under section 1983 predicated upon the Fourth
Amendment. See Garner, 471 U.S. at 9, 105 S.Ct. at 1700 (use of deadly force to
prevent escape constitutes an unreasonable seizure unless the officer has probable
cause to believe that the suspect poses a threat of serious harm to the officer or
others); Robins, 773 F.2d at 1008-10 (allegation that police used excessive force
while transporting plaintiffs to police station after arrest states a section 1983 claim

                                            9
for a Fourth Amendment violation); MacDonald v. Musick, 425 F.2d 373, 377 (9th
Cir.) (defendant asserting that his arrest was unlawful, that he had a right to resist,
and that he sustained injuries as a result of his resistance stated claim under section
1983), cert. denied, 400 U.S. 852, 91 S.Ct. 54, 27 L.Ed.2d 90 (1970); see also Gilmere
v. City of Atlanta, 774 F.2d 1495, 1502 (11th Cir.1985) (alleged beating and killing of
suspect during process of detention stated a section 1983 claim for Fourth
Amendment violation), cert. denied, --- U.S. ----, 106 S.Ct. 1970, 90 L.Ed.2d 654
(1986).

40.    In the time immediately leading up and following Plaintiff’s arrest, while
acting under color of state and local law, Defendants knowingly deprived Plaintiff of
her 4th Amendment rights by their brutal and excessive use of force to detain her.

41.    At the time that Defendants used excessive force to unlawfully seize and
search B.N.S., B.N.S. had the Constitutional Right, pursuant to the 4th Amendment to
the United States Constitution, to be free from the use of excessive force, false arrest,
and unlawful search and seizure. This right was a clearly established right at the time
that Plaintiff was unreasonably seized, maced, forcibly physically carried and
shoved into the police vehicle while screaming and crying for help.

42. On September 18, 2016, while acting under color of state and local law,
Defendants deprived Plaintiff of her 4th Amendment rights by using excessive force
during the course of conducting an unlawful arrest of Plaintiff, by falsely arresting
Plaintiff by transporting her to Washington city police department. And holding her
there against her will.

43.    Defendants violated the clearly established Fourth Amendment rights of the
plaintiff to be free from excessive force, false arrest, and unlawful searches and
seizures.

44.    As a direct result of the above, Plaintiff was caused to suffer the following
injuries and damages:

(a)    Emotional pain and suffering, including but not limited to stress and anxiety;


                                            10
(b)    Development of fears and phobias; She burst into tears while in a
convenience store when she observed a police officer merely enter the store.

(c)    Nightmares and insomnia;

(d)    humiliation;

(e)    impairment of relationships;

(f)    A substantial loss of the enjoyment of life;

(g)    She missed a week of school and thereafter, when she returned to school she
was put on concussion protocol by the school authorities which prevented her from
participating in athletic and certain other school activities.

    COUNT II: CLAIM OF B.N.S. AGAINST DEFENDANTS MAYOR, CITY
    COUNCIL, CHIEF BRITO, DEFENDANT HAGERSTOWN CITY POLICE
   DEPARTMENT, CITY OF HAGERSTOWN, EICHELBERGER, CONSTABLE,
  ROWE AND OFFICERS UNKNOWN FOR VIOLATION OF THE PLAINTIFF'S
        FOURTEEN AMENDMENT RIGHTS (UNLAWFUL SEIZURE)
45     Plaintiff re-alleges and restates paragraphs 1 through 39 as if fully set forth
herein.

46.    The fourteenth amendment forbids "any state" to "deprive any person of life,
liberty, or property, without due process of law." Shortly after the amendment was
adopted, Congress

enacted the Civil Rights Act of 1871, part of which is now 42 U.S.C. § 1983, giving a
civil action for redress to any person deprived under color of state law of a right
secured by the Constitution or by federal authorities. Monroe v. Pape 365 U.S. 167
,3 that section 1983 permitted a damage action against police officers for breaking
into a private person's home, beating him and his wife and children, and illegally
holding him for ten hours before releasing him and dropping vague charges against
him.




                                            11
47.    In Monroe, the court said, "section [1983] should be read against the
background of tort liability that makes a man responsible for the natural
consequences of his actions."

48.    This warrantless search and arrest does not fall under any exceptions to the
warrant requirement.

    COUNT III: CLAIM OF B.N.S. AGAINST DEFENDANTS MAYOR, CITY
  COUNCIL, CHIEF BRITO, DEFENDANTS MAYOR, CITY COUNCIL, CHIEF
 BRITO, DEFENDANT HAGERSTOWN CITY POLICE DEPARTMENT, CITY OF
   HAGERSTOWN , EICHELBERGER, CONSTABLE, ROWE AND OFFICERS
UNKNOWN FOR VIOLATION OF THE PLAINTIFF'S CIVIL RIGHTS PURSUANT
      TO 42 U.S.C. 1983 (INTENTIONAL INFLICTION OF EMOTIONAL
DISTRESS)EICHELBERGER, CONSTABLE, ROWE AND OFFICERS UNKNOWN
   FOR VIOLATION OF THE PLAINTIFF'S CIVIL RIGHTS PURSUANT TO 42
                        U.S.C. 1983 ( FALSE ARREST)
49.    Plaintiff re-alleges and restates paragraphs 1 through 43 as if fully set forth
herein.

50.    Defendants police officers named and unnamed knew or reasonably should
have known that no legitimate grounds existed for the detention and arrest of B.N.S.
and that the she was not suspected of having committed a crime and thus their
actions constitute false arrest

51.    As a result of the false arrest by the aforementioned Defendants, Plaintiff
B.N.S. Stuart experienced severe mental and emotional distress.

   COUNT IV: CLAIM OF B.N.S. AGAINST DEFENDANTS MAYOR, CITY
   COUNCIL, CHIEF BRITO, DEFENDANT HAGERSTOWN CITY POLICE
 DEPARTMENT, CITY OF HAGERSTOWN , EICHELBERGER, CONSTABLE,
 ROWE AND OFFICERS UNKNOWN FOR VIOLATION OF THE PLAINTIFF'S
CIVIL RIGHTS PURSUANT TO 42 U.S.C. 1983 (INTENTIONAL INFLICTION OF
                      EMOTIONAL DISTRESS)
52.    Plaintiff re-alleges and restates paragraphs 1 through 46 as if fully set forth
herein.

53.   Defendants intentionally did seize, search and falsely arrest B.N.S. while
committing acts of severe and extreme physical brutality. Once they grabbed her


                                           12
off of the bike from behind lifting her bodily up off the bike, they never let go of her
body again, they subsequently threatened her with the mace and with taking her to a
Baltimore jail.

54.   At one point, after one officer had a handcuff on one wrist while another officer
had a handcuff on her other wrist, they then flung her like a slingshot face first into a
brick wall with a protruding cement windowsill. These actions against her were
taken without justification, provocation, or probable cause.

55.    The vile nature of the acts themselves, coupled with the abuse of their power
and place in society as police officers as well as the nature of the hostile false arrest
makes the above conduct of all Defendants both extreme and outrageous.

56.    Consequently, B.N.S. began exhibiting signs of severe emotional distress,
bursting into tears at the sight of police officers in a public store and other signs of
this distress continue to the date of filing this complaint requiring psychological
treatment.

57.    This trauma is a direct and proximate result of the intentional behavior of
Defendants referenced above.

58.    B.N.S. has incurred expenses for psychological care and treatment,
medicines, and other types of medical and/or psychological related attention. B.N.S.
continues to suffer mental and emotional discomfort as a result of the intentional
infliction of emotional distress committed by Defendants. This intentional infliction of
emotional distress may require lifetime counseling and psychological treatment. All
of the above damages were directly and proximately caused by the aforementioned
intentional seizure, search, and arrest of B.N.S..

59.    Defendants conduct meets all the elements to constitute intentional infliction
of emotional distress. Defendants conduct was intentional or reckless; their behavior
was extreme and outrageous; their wrongful conduct was a direct and proximate
cause of B.N.S.’s emotional distress; and her emotional distress was severe. See
Harris v. Jones, 281 Md. 560 (1977).


                                            13
60.    A 1985 case defined “severe emotional distress” as emotional suffering of
“such substantial quantity or enduring quality that no reasonable man in a civilized
society should be expected to endure it.” See Gallagher v. Bituminous Fire & Marine
Ins. Co., 303 Md. 201.

 COUNT V: CLAIM OF B.N.S. PURSUANT TO 28 USC §1983 (MONELL CUSTOM
  OR PRACTICE) AGAINST DEFENDANTS MAYOR, CITY COUNCIL, CHIEF
 BRITO, DEFENDANT HAGERSTOWN CITY POLICE DEPARTMENT, CITY OF
   HAGERSTOWN, EICHELBERGER, CONSTABLE, ROWE AND OFFICERS
                             UNKNOWN
61.    B.N.S. re-alleges and restates paragraphs 1 through 55 as if fully set forth
herein. The Mayor of Hagerstown, the Chief of the Hagerstown City Police and the
Hagerstown City Council are responsible for the management, supervision, staffing,
funding and training of the Hagerstown Police Department.

62.    The acts of the Defendant Hagerstown City Police Officers constitute a long
standing pervasive pattern of lawlessness and use of excessive force that the Mayor,
City Council and Chief of Police have willfully failed to address.

63.    It is the policy of the Hagerstown City Police Department to inadequately train
and supervise its police officers, including the defendant officers and thereby fail to
discourage further constitutional violation on the part of its officers and the Mayor,
City Council and the Chief of Police have failed to take any steps to remediate this
omission.

64.    As a result of the above described policies and customs, police officers of
Hagerstown City Police Department believed their actions would not be investigated
or sanctioned, but would be tolerated. The Defendants pepper sprayed B.N.S.
needlessly, continuously, excessively repeatedly and even after she was fully
secured for purposes of administering “street discipline.”

60.    The above described policies and customs demonstrated a deliberate
indifference on the part of policy makers in the Hagerstown City Police Department
and in the State of Maryland to the constitutional rights of persons within the County



                                           14
and were the cause of the violation of Plaintiff B.N.S. Stuart's federal and state
constitutional rights.

                   COUNT VI-- 8TH AMENDMENT EXCESSIVE FORCE

61. Plaintiff B.N.S. alleges as if fully set forth the allegations of Paragraphs 1 through 35 of this
complaint.

62. In a very important Supreme Court case called Hudson v. McMillian, 503 U.S. 1
(1992), the Court found a violation of the Eighth Amendment when prison officials
punched and kicked a prisoner, leaving him with minor bruises, swelling of his face
and mouth, and loose teeth. The Court held that a guard’s use of force violates the
Eighth Amendment when it is not applied “in a good faith effort to maintain or
restore discipline” but instead is used to “maliciously and sadistically cause harm.”
“Excessive force” is any physical contact by a guard that is meant to cause harm,
rather than keep order.

63. Defendant Police Department herein was negligent in its failure to properly train
Defendant Police Officers in policies and procedures which would have prevented Officers
known and unknown from committing an assault On Plaintiff B.N.S., specifically, Defendant
Police Officers should have been trained to seek to take other precautions for young and
emotionally fragile persons who were not attempting to escape or bring harm to themselves
or others but who were merely refusing to obey a command to call their mother or other
parent, prior to a resort to brutal and excessive force, and said negligent failure to properly
train these Defendant Police Officers caused them to breach their duty of care owed to B.N.S.

64. The Eighth Amendment, protects prisoners from “unnecessary and wanton infliction of
pain.” Whitley v. Albers, 475 U.S. 312, 319 (1986), abrogated on other grounds by Wilkins v.
Gaddy, 559 U.S. 34 (2010). An Eighth Amendment claim for excessive force, like Boone’s
claim, requires the prisoner to prove the official possessed a culpable state of mind
(subjective component) and caused the prisoner a sufficiently serious deprivation or injury

(objective component). Williams v. Benjamin, 77 F.3d 756, 761 (4th Cir. 1996).


                                                 15
65. The subjective component requires a prisoner to prove the official acted “maliciously and
sadistically for the very purpose of causing harm” rather than “in a good faith effort to

maintain or restore discipline.” Whitley, 475 U.S. at 320-21 (internal quotation marks
omitted).

66. Hudson v. McMillian, 503 U.S. 1, 9 (1992). Factors showing malicious or sadistic intent
include:

(1) the need for force,

(2) the degree of force used in relation to the need for force,

(3) the existence of a threat reasonably perceived by the official,

(4) any efforts made to lessen the severity of a forceful response, and

(5) the extent of the prisoner’s injury.

Id. at 7.

67. The objective component measures the force used against “contemporary standards of
decency.” Hudson, 503 U.S. at 8 (internal quotations omitted). There was no need for the
immediate, brutal and extreme measure of force used by the police when they suddenly
yanked her off her bike and continued uninterrupted for the next ten to fifteen minutes to
assault her as they tried to abuse and frighten her into calling her mother or father. Both
officers physically and forcefully began to yank and shove B.N.S. around immediately
forcing her to be handcuffed shoving her to the ground and holding her there despite her
cries that she was not trying to escape and that she suffered from OCD. They subsequently
then slammed her into a brick wall without any showing of a perceived threat from her or of
harm to them, herself or others. She was in fact, merely not acceding to their demand that
she call her mother or father because, at one point, she told them her mother would be mad
at her.

68. Having immediately resorted to excessive force, these officers made no attempt to
lessen the severity of their assault but instead held her, handcuffed on the concrete sidewalk
while she exhibited clear signs of a panic attack and cried. They then decided to remove

                                               16
her from the scene and two of them carried her cuffed and panic stricken to the police car
while she cried and screamed in fear writhing in their grasp. They placed and secured her
in the back of a police vehicle, then gratuitously pepper sprayed her multiple times while
she was looking for her phone to call her mother and despite her being seatbeted in and
handcuffed with the police car door partially shut.

69. Having secured her in the police vehicle, despite her cry that she would call her mother
if she could just find her phone, they gratuitously spray her with pepper spray as she sat seat-
belted in the car and looked about for her phone on the seat behind and next to her. This
was clearly a retaliatory gesture meant to satisfy their anger over her earlier refusal to call
her parents. Just prior to pepper spraying her, one officer is heard casually telling another
officer to step away and he will "just spray her". When she is sprayed multiple times,
Plaintiff is not trying to escape nor posing a threat to herself or others, but is secured in the
back seat of the patrol car handcuffed and seatbelted. During the ride to the police station
and while there for about 45 minutes, she was given no opportunity to waste the pepper
spray from her eyes and face. The police officers who rode in the fumigated car did wash
their face and eyes immediately upon arriving at the police station even though they were
not the recipients of any direct pepper spray but rather secondary spray. It was hours later
that she had her eyes and face medically washed at the hospital.

70. By shoving B.N.S. to the ground and pushing and slamming B.N.S. into a wall, then
carrying her to the police vehicle and forcefully shoving her body in the back seat and then
while completely restrained and not attempting escape nor posing a threat to herself or
others, pepper spraying her multiple times without sufficient provocation, Defendant Police
Officers willfully, wantonly and maliciously acted for the purpose of causing an injury to
B.N.S, without justification or excuse.

71. Only when Plaintiff was released to her parents was she then taken to the Meritus
Medical Center and following a series of diagnostic procedures she was placed in a cervical
collar for her mild right thrombotic thrombocytopenic purpura and treated with pain
medication




                                                17
72. As a direct and proximate result of one or more of Defendant Police Officers' wrongful
acts, cruel and unusual punishment, B.N.S. sustained serious bodily and emotional injuries.

WHEREFORE, Plaintiff B.N.S demands judgment against Defendant Police Department for
Five Hundred Thousand ($5,000.00) in compensatory damages, plus interest and costs.

 COUNT VII- VIOLATION OF MARYLAND DECLARATION OF RIGHTS, ARTICLE 24

73.       Plaintiff B.N.S. re-alleges as if fully set forth the allegations of Paragraphs 1 through 46
of this complaint.
74.   Article 24 of the Maryland Declaration of Rights provides that "no man ought to be...
deprived of his life, liberty or property, but by the judgment of his peers, or by the law of the
land."

78. Defendant Police Department breached its duty of care owed to B.N.S. under Article 24
of the Maryland Declaration of Rights by causing injury to her without the judgment of her
peers, or by the law of the land.

79. As a direct and proximate result of Defendant Officers actions, whereby they inflicted
injury to Plaintiff without due process, they violated Article 24 of the Maryland Declaration of
Rights.
80. By Defendant Police Department's failure to properly train Defendant Police Officers as
set forth in Paragraphs 1 through 46 above, Defendant Police Department breached its duty
of care owed to B.N.S. under Article 24 of the Maryland Declaration of Rights by causing
injury to her without the judgment of her peers, or by the law of the land.

81.       As a direct and proximate result of Defendant Police Department's negligent failure
under Article 24 of the Maryland Declaration of Rights in causing the injury to B.N.S., she
sustained mental anguish, emotional pain, suffering, loss of protection, loss of paternal care,
loss of filial care, loss of attention, loss of advice and loss of counsel.

WHEREFORE, Plaintiff B.N.S. demands any damages allowed by law against Defendant
Police Department, including an admission of responsibility for the assault and battery of
B.N.S.



                                                   18
                                PRAYER FOR RELIEF
      WHEREFORE, the Plaintiff, B.N.S. respectfully requests that this Court:
a.     RULES that the Defendants actions violated the rights of the Plaintiff, B.N.S.
under the Fourth and Fifth Amendments to the United States Constitution and the
laws of the State of Maryland and constitute excessive force, intentional infliction of
emotional distress, false arrest and a violation thereof;
b.      ENTER a permanent injunction that bars Defendants from such abusive
conduct against anyone who refuses medical care and from retaliating against
Plaintiff B.N.S. ;
c.     ENTER JUDGMENT awarding Plaintiff B.N.S. compensatory damages against
all Defendants in the amount of $5,000,000.00;
d. ENTER JUDGMENT awarding Plaintiff B.N.S. punitive damages against all
Defendants and believes she is entitled to punitive damages because defendants
conduct was malicious, oppressive, or in reckless disregard of the plaintiff's rights
and for the purpose of injuring the Plaintiff. It reflected complete indifference to the
Defendant's safety or rights.
e. ENTER JUDGMENT awarding Plaintiff B.N.S. costs, expenses and reasonable
attorneys' fees in this action as provided in 42 US.C. section 1983; and
f. GRANT the Plaintiff any such relief as this Court may deem just and proper.
                                  JURY DEMAND
Plaintiff demands a jury trial in the aforementioned matter.


                                                Respectfully submitted,
                                                ________________________________
                                                Denise J. Banjavic
                                                9601 Baltimore Ave., Ste 204
                                                College Park, MD 20740
                                                Attorney for Plaintiff B.N.S.




                                  CERTIFICATE OF SERVICE
I HERERBY CERTIFY that on this 12Th day of March, 2018, a copy of the foregoing Motion to
Amend Complaint and Memorandum was filed electronically and served electronically upon
counsel of record.

                                           19
     _________________
     Denise J. Banjavic




20
